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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RODNEY VICTOR COLEMAN,                              Case No. 22-cv-04491-HSG
                                   8                    Plaintiff,                           ORDER GRANTING EXTENSION OF
                                                                                             TIME TO FILE AMENDED
                                   9             v.                                          COMPLAINT
                                  10     T. ALLEN, et al.,                                   Re: Dkt. No. 9
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Good cause being shown, Plaintiff’s request for an extension of time to file his amended

                                  14   complaint is GRANTED. Dkt. No. 9. Plaintiff shall file his amended complaint by December 30,

                                  15   2022. Failure to file an amended complaint in accordance with this order in the time provided will

                                  16   result in dismissal of this action without further notice to Plaintiff. The Clerk shall include two

                                  17   copies of the court’s complaint form with a copy of this order to Plaintiff.

                                  18          This order terminates Dkt. No. 9.

                                  19          IT IS SO ORDERED.

                                  20   Dated: 12/2/2022

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                                                                                        HAYWOOD S. GILLIAM, JR.
                                  22                                                    United States District Judge
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